                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                           4:19-CR-3094

       vs.
                                              MEMORANDUM AND ORDER
JONATHAN MANZI,

                   Defendant.


      This matter is before the Court on the defendant Jonathan Manzi's
objection (filing 160) to the Magistrate Judge's order (filing 159) denying his
motion for leave to file a motion for a bill of particulars (filing 155). Pursuant
to 28 U.S.C. § 636(b)(1)(A), the Court has reviewed the record and finds the
Magistrate Judge's order was neither clearly erroneous nor contrary to law.
However, in light of significant briefing by the parties addressing evidentiary
exchanges that occurred after the order was issued, the Court will briefly
elaborate on its affirmance of the Magistrate Judge's decision.
      In denying his motion for leave, the Magistrate Judge concluded, in part,
that Manzi failed to show "good cause to permit the untimely filing of a motion
for bill of particulars," filing 159 at 5, where the motion was filed seventeen
months after the pretrial motions deadline and Manzi provided no explanation
as to why the motion was not, or could not have been, made in a timely manner.
Filing 159 at 4-5. Additionally, the Magistrate Judge noted that during those
seventeen months, Manzi never "indicate[d] or intimate[d] that he lacked an
understanding of the charges against him and the factual basis for those
charges." Filing 159 at 4. Finally, the Magistrate Judge concluded that even if
Manzi could show good cause to permit the untimely motion, his request for a
bill of particulars was without merit, as he was using it as improper discovery
mechanism to obtain further evidentiary detail. Filing 159 at 5-8.
      Still, Manzi argues his decision not to move for a bill of particulars at an
earlier time that requested copies of the documents he allegedly "stole" from
the accounts was valid, as he did not "desire to expend the Court's resources"
and "assumed the government would meet its discovery obligations and
produce the files." Filing 160 at 17-18. Once the government failed to produce
these documents during discovery, however, he was "compelled to move for a
bill of particulars." Filing 160 at 5-6. And although the government did provide
some of these documents after the Magistrate Judge issued her order, Manzi
argues that "it appears [] the government has not yet produced all such
documents, and therefore, he does not have sufficient knowledge of what
information was allegedly stolen . . . to prepare for trial and avoid prejudicial
surprise." Filing 160 at 4.
      Manzi went on to say that if the government would stipulate that the
documents it provided "constitute the entirety of the information it has charged
Mr. Manzi with stealing," his motion for leave to move for a bill of particulars
would be moot. Filing 168-1 at 2. The government rejected this stipulation
request. Filing 172 at 3-4. However, as stated above, the government claims it
provided Manzi with all of such files currently in its possession and control
after the Magistrate Judge's order was issued, filing 166 at 3; see filing 168-1
at 2, and has assured the Court that it will promptly provide Manzi with any
additional Rule 16 discovery it receives moving forward.. Filing 166 at 2.
      For the Court, these additional disclosures by the government only
further demonstrate that a bill of particulars is not needed to apprise Manzi of
the nature of the charges against him. An indictment sufficiently apprises the
defendant of the charges if it "contains the elements of the offense charged and

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fairly informs a defendant of the charge against which he must defend, and,
second, enables him to plead an acquittal or conviction in bar of future
prosecutions for the same offense." United States v. Matlock, 675 F.2d 981, 986
(8th Cir. 1982) (citations omitted). And as stated by the Magistrate Judge,
when considering if the defendant is sufficiently apprised of the charges to
enable him to prepare a defense, the Court can, and should, also consider the
disclosures made to the defendant during discovery. See United States v.
Huggans, 650 F.3d 1210, 1220 (8th Cir. 2011).
      The indictment in the instant case clearly contains the elements of the
offense as outlined in 18 U.S.C. § 1030(a)(2), (c)(2)(B)(i), and (iii), including that
Manzi obtained information, for the purposes of commercial advantage and
private financial gain, the value of which exceeded $5,000. Filing 155-2 at 2.
In addition, as in Matlock, the indictment also includes the exact dates on
which Manzi allegedly committed the unlawful acts, the accounts he allegedly
accessed (including the owners of those accounts), the reasons he allegedly
accessed the accounts, and the laws he thereby violated. See Matlock, 675 F.2d
at 986. The detail of this information, in addition to putting Manzi on notice of
the charges against him, also enables him to make the appropriate plea if faced
with issues of double jeopardy. Thus it is clear that, at the time of the
Magistrate Judge's ruling, Manzi was informed of the charges and allegations
he must defend at trial, making the denial of leave to file a motion for a bill of
particulars well within the parameters of the law.
      And after the government's most recent disclosures, Manzi also has six
documents containing examples of the type of proprietary information the
government will argue he illegally accessed and obtained. Therefore, through
the indictment and discovery, the government has made the basis for its
charges clear: that Manzi unlawfully accessed "the Google email account of the

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victim designated as 'T.P.' [and obtained password] information [that he then]
used to gain access to the Dropbox account of Wepa, Inc.," a competitor of his
business, where he obtained information, exceeding $5,000 in value, to derive
a commercial or financial gain. Filing 166 at 5; see filing 158 at 3. What's more,
in a separate briefing to the Court, Manzi made it clear that he understood the
type of information he was accused of unlawfully accessing, summarizing the
government's argument as an allegation that "Mr. Manzi [s]tole WEPA's
[p]roprietary [i]nformation." Filing 167-1 at 12.
      In sum, at this stage, granting Manzi leave to file a motion for a bill of
particulars would effectively serve as a tool for acquiring evidentiary detail.
Not only would that be improper, as that is "not the function of the bill of
particulars," filing 159 at 6 (citing Matlock, 675 F.2d at 986), but it would also
be unnecessary given the government's promise and duty to disclose any
discoverable information it may receive between now and trial. As such, the
Court finds that the Magistrate Judge's order was not contrary to law.


      IT IS ORDERED that the defendant's objection (filing 160) to the
      Magistrate Judge's order (filing 159) denying his motion for leave
      to file a motion for a bill of particulars (filing 155) is overruled.


      Dated this 22nd day of February, 2022.


                                             BY THE COURT:


                                             John M. Gerrard
                                             United States District Judge




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